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(Official Form 1) (10/05)

United States Bankruptcy Court
Southern District of Florida

Name of Joint Debtor (Spouse) (Last, First, Middle):

Voluntary Petition

 

 

Name of Debtor (if individual, enter Last, First, Middle):

Tarrio, Henry

All Other Names used by the Joint Debtor in the last 8 years

 

All Other Names used by the Debtor in the last 8 years

(include married, maiden, and trade names):

(include married, maiden, and trade names):

Last four digits of Soc. Sec./Complete EIN or other Tax ID No. (if more than one, state all)

 

Last four digits of Soc. Sec./Complete EIN or other Tax ID No. (if more than one, state all)

XXX=XX=7 147

Street Address of Joint Debtor (No. & Street, City, and State):

 

Street Address of Debtor (No. & Street, City, and State):

 

 

1260 Kasim Street
Opa Locka, FL
ZIP Code ZIP Code
33054
County of Residence or of the Principal Place of Business: County of Residence or of the Principal Place of Business:
Miami-Dade
Mailing Address of Debtor (if different from street address): Mailing Address of Joint Debtor (if different from street address):
ZIP Code ZIP Code

 

 

Location of Principal Assets of Business Debtor

(if different from street address above):

Chapter of Bankruptcy Code Under Which

 

Type of Debtor (Form of Organization)
(Check one box)

BB Individual (includes Joint Debtors)
0 Corporation (includes LLC and LLP)

0 Partnership

0 Other (if debtor is not one of the above
entities, check this box and provide the

information requested below.)
State type of entity:

Nature of Business
(Check all applicable boxes.)

D Railroad
OD Stockbroker

O Health Care Business O Chapter 7 O Chapter 11
O ase. SOL GiB)” defined of a Foreign Main Proceeding
“es O Chapter 9 O Chapter 12 0 Chapter 15 Petition for Recognition
of a Foreign Nonmain Proceeding

the Petition is Filed (Check one box)
0 Chapter 15 Petition for Recognition

Wi Chapter 13

 

0 Commodity Broker

O) Clearing Bank
DO) Nonprofit Organization qualified
under 26 U.S.C. § 501(c)(3)

 

Wi Consumer/Non-Business

Nature of Debts (Check one box)

OO Business

Chapter 11 Debtors

 

Wl Full Filing Fee attached

Filing Fee (Check one box)

OU Filing Fee to be paid in installments (Applicable to individuals only) Must
attach signed application for the court's consideration certifying that the debtor

is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.

C] Filing Fee waiver requested (Applicable to chapter 7 individuals only). Must
attach signed application for the court's consideration. See Official Form 3B.

 

Check one box:
0) Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).

O) Debior is not a small business debtor as defined in 11 U.S.C. § 101(51D).

Check if:
C1 Debtor's aggregate noncontingent liquidated debts owed to non-insiders

or affiliates are less than $2 million.
THIS SPACE IS FOR COURT USE ONLY

 

 

 

 

 

 

 

Statistical/Administrative Information
I Debtor estimates that funds will be available for distribution to unsecured creditors.
O) Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds
available for distribution to unsecured creditors. oo
= Sry |
Estimated Number of Creditors wn > ,
1- 50- 100- 200- 1000- 5001- 10,001- 25,001- 50,001- OVER tn 8 S3 my >
49 99 199 999 5,000 10,000 25,000 50,000 100,000 100,000 - ~ Qo
= o D Oo oO Oo oO o Oo Oo Se nm ™
oe ~
Estimated Assets ~ En
$0 to $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 to $50,000,001 to More than . es —_.
$50,000 $100,000 $500,000 $1 million $10 million $50 million $100 million $100 million Oo o>
Oo 0 a Oo O Oo oO o 4 cD
Cr |
Estimated Debts om
$0 to $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 to $50,000,001 to More than O &
$50,000 $100,000 $500,000 $1 million $10 million $50 million $100 million $100 million
oO | a Oo Oo QO 0 O

 
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Official Form 1) (10/05)

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FORM B1, Page 2

 

Voluntary Petition

(This page must be completed and filed in every case)

Name of Debtor(s):
Tarrio, Henry

 

Prior Bankruptcy Case Filed Within Last 8

Years (If more than one, attach additional sheet)

 

Location
Where Filed: Southern District of FLorida

Date Filed:
1/31/06

Case Number:
06-10290-AJC

 

Pending Bankruptcy Case Filed by any Spouse, Partner, or

Affiliate of this Debtor (1f more than one, attach additional sheet)

 

 

 

 

(To be completed if debtor is required to file periodic reports (e.g.,
forms 10K and 10Q) with the Securities and Exchange Commission
pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934
and is requesting relief under chapter 11.)

D Exhibit A is attached and made a part of this petition.

Name of Debtor: Case Number: Date Filed:
- None -
District: Relationship: Judge:
Exhibit A Exhibit B

(To be completed if debtor is an individual whose debts are primarily consumer debts.)

I, the attomey for the petitioner named in the foregoing petition, declare that ]
have informed the petitioner that [he or she] may proceed under chapter 7, 11,
12, or 13 of title 11, United States Code, and have explained the relief available
under each such chapter.

I further certify that I delivere

the Bankruptcy Code.
xX

Sighature of Attorney for D pron
Mitchell J. Nowack 0099661

tofpe debtor the notice required by §342(b) of

io lu Loy

Date

 

 

Exhibit C
Does the debtor own or have possession of any property that poses or
is alleged to pose a threat of imminent and identifiable harm to public
health or safety?

O Yes, and Exhibit C is attached and made a part of this petition.

No

Certification Concerning Debt Counseling
by Individual/Joint Debtor(s)

Wi I/we have received approved budget and credit counseling during
the 180-day period preceding the filing of this petition.

O Wwe request a waiver of the requirement to obtain budget and
credit counseling prior to filing based on exigent circumstances.
(Must attach certification describing.)

 

 

this District, or has no principal place of business or assets

sought in this District.

Information Regarding the Debtor (Check the Applicable Boxes)
Venue (Check any applicable box)

Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.

There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in

in the United States but is a defendant in an action or

proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief

 

Statement by a Debtor Who Resides

Landlord has a judgment against the debtor for possession

as a Tenant of Residential Property

Check all applicable boxes.

of debtor's residence. (If box checked, complete the following.)

 

(Name of landlord that obtained judgment)

 

(Address of landlord)

possession was entered, and

after the filing of the petition.

Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be
permitted to cure the entire monetary default that gave rise to the judgment for possession, after the judgment for

Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period

 

 

 
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Official Form 1) (10/05)

Filed 10/12/06 Page 3 of 13
FORM BI, Page 3.

 

 

Signature(s) of Debtor(s) (Individual/Joint)

I declare under penalty of perjury that the information provided in
this petition is true and correct.

[If petitioner is an individual whose debts are primarily consumer
debts and has chosen to file under chapter 7] 1 am aware that I may
proceed under chapter 7, 11, 12, or 13 of title 11, United States
Code, understand the relief available under each such chapter, and
choose to proceed under chapter 7.

{If no attorney represents me and no bankruptcy petition preparer
signs the petition] ] have obtained and read the notice required by
§342(b) of th ,

  
    
 
 
 
 

accordance with the chapter of title 11, United
ecified in this petition.

ye of Debtor Henry Tarrio
X

 

Voluntary Petition Name of Debtor(s):
Tarrio, Henry
(This page must be completed and filed in every case)
Signatures

Signature of a Foreign Representative

I declare under penalty of perjury that the information provided in this petition
is true and correct, that I am the foreign representative of a debtor in a foreign
proceeding, and that I am authorized to file this petition.

(Check only one box.)

[7 I request relief in accordance with chapter 15 of title 11. United States Code.
Certified copies of the documents required by §1515 of title 11 are attached.

DO Pursuant to §1511 of title 11, United States Code, I request relief in accor-
dance with the chapter of title 11 specified in this petition. A certified copy
of the order granting recognition of the foreign main proceeding is attached.

x

 

Signature of Foreign Representative

 

Printed Name of Foreign Representative

 

Date

 

Signature of Joint Debtor

 

Telephone Number (If not represented by attorney)

polu lev

Date

 

Signature of Non-Attorney Bankruptcy Petition Preparer

I declare under penalty of perjury that: (1) 1 am a bankruptcy
petition preparer as defined in 11 U.S.C. § 110; (2) 1 prepared this
document for compensation and have provided the debtor with a
copy of this document and the notices and information required
under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or
guidelines have been promulgated pursuant to 11 U.S.C. § 110(h)

 

wl.
yignature of Attorney

X

 

Signature of Attorney for Debtor(s)

Mitchell J. Nowagk 0099661
Printed Name of Attorney for Debtor(s)

Law Office of Mitchell J. Nowack, P.A.
Firm Name

8180 N.W. 36th Street

Suite 229

Doral, FL 33166

 

Address

Email: lawoffice@mnowack.com
(305)698-2265 Fax: (305)463-9113

Telep one Number
iD itt dy?

Date :

setting a maximum fee for services chargeable by bankruptcy
petition preparers, I have given the debtor notice of the maximum
amount before preparing any document for filing for a debtor or
accepting any fee from the debtor, as required in that section.
Official Form 19B is attached.

 

Printed Name and title, if any, of Bankruptcy Petition Preparer

 

Social Security number (If the bankrutpcy petition preparer is not
an individual, state the Social Security number of the officer,
principal, responsible person or partner of the bankruptcy petition
preparer.)(Required by 11 U.S.C. § 110.)

 

Address

XxX

 

 

Signature of Debtor (Corporation/Partnership)

I declare under penalty of perjury that the information provided in
this petition is true and correct, and that I have been authorized to
file this petition on behalf of the debtor.

The debtor requests relief in accordance with the chapter of title 11,
United States Code, specified in this petition.

 

Signature of Authorized Individual

 

Printed Name of Authorized Individual

 

Title of Authorized Individual

 

Date

 

 

Date

Signature of Bankruptcy Petition Preparer or officer, principal,
responsible person,or partner whose social security number is
provided above.

Names and Social Security numbers of all other individuals who
prepared or assisted in preparing this document unless the
bankmpptcy petition preparer is not an individual:

If more than one person prepared this document, attach additional
sheets conforming to the appropriate official form for each person.

A bankruptcy petition preparer’s failure to comply with the
provisions of title 11 and the Federal Rules of Bankruptcy
Procedure may result in fines or imprisonment or both 11 U.S.C.
$110; 18 U.S.C. $156.

 

 

 
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Form B6A
(10/05)

In re Henry Tarrio

Case No.

 

 

Debtor

SCHEDULE A. REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, or both own the property by placing an "H," "W," "J," or "C" in the column
labeled "Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write "None" under "Description and Location of Property."

Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and

Unexpired Leases.

If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim.”

If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property

Claimed as Exempt.

 

Current Value of
Aeppand, Debtor's Interest in

Property, without Amount of

Nature of Debtor's

 

 

Description and Location of Property Interest in Pro : .
perty Joint, or Deductin S d Secured Claim
: g any Secure
Community Claim or Exemption
1260 Kasim Street, Opa Locka FL - 220,000.00 190,000.00
PL NO 1 OPA LOCKA PB 25-44 E20 FT
LOT 11 & ALL LOT 12 BLK 18
LOT SIZE 66.410 X 129 OR 20835-4578 1102 1
COC 22759-2826 10 2004 1
Sub-Total > 220,000.00 (Total of this page)
Total > 220,000.00

© continuation sheets attached to the Schedule of Real Property

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(Report also on Summary of Schedules)

Best Case Bankruptcy
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Form B6B
(10/05)

In re Henry Tarrio Case No.

 

 

Debtor

SCHEDULE B. PERSONAL PROPERTY

Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, or both own the property by placing
an "H," "W," "J," or "C" in the column labeled “Husband, Wife, Joint, or Community." If the debtor is an individual or a joint petition is filed, state the
amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
In providing the information requested in this schedule, do not include the name or address of a minor child. Simply state "a minor child."

 

 

N Husband, Current Value of
Type of Property 4 Description and Location of Property rite, or Debtor's Interest cine pe
E Community Secured Claim or Exemption
1. Cash on hand cash on hand - 22.00

2. Checking, savings or other financial xX
accounts, certificates of deposit, or
shares in banks, savings and loan,
thrift, building and loan, and
homestead associations, or credit
unions, brokerage houses, or
cooperatives.

3. Security deposits with public X
utilities, telephone companies,
landlords, and others.

4. Household goods and furnishings, bedroom set, table, 4 chairs, couch, remaining - 600.00
including audio, video, and belongs to family member
computer equipment.

5. Books, pictures and other art X
objects, antiques, stamp, coin,
record, tape, compact disc, and
other collections or collectibles.

6. Wearing apparel. clothing . 50.00
7. Furs and jewelry. jewelry: watch, ring - 400.00
8. Firearms and sports, photographic, X

and other hobby equipment.

9. Interests in insurance policies. xX
Name insurance company of each
policy and itemize surrender or
refund value of each.

10. Annuities. Itemize and name each X
issuer.

 

Sub-Total > 772.00
(Total of this page)

2 _ continuation sheets attached to the Schedule of Personal Property

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Form B6B
(10/05)

In re Henry Tarrio

Case No.

 

 

Debtor

SCHEDULE B. PERSONAL PROPERTY

(Continuation Sheet)

 

Type of Property

Husband,

Description and Location of Property Joint. or

Current Value of

Wife, Debtor's Interest in Property,

without Deducting any

Community Secured Claim or Exemption

 

11. Interests in an education IRA as

defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately the

record(s) of any such interest(s).

11 U.S.C. § 521(c); Rule 1007(b)).

12. Interests in IRA, ERISA, Keogh, or

other pension or profit sharing
plans. Give particulars.

13. Stock and interests in incorporated

and unincorporated businesses.
Itemize.

14. Interests in partnerships or joint
ventures. Itemize.

15. Government and corporate bonds
and other negotiable and
nonnegotiable instruments.

16. Accounts receivable.

17. Alimony, maintenance, support, and

property settlements to which the
debtor is or may be entitled. Give
particulars.

18. Other liquidated debts owing debtor

including tax refunds. Give
particulars.

19. Equitable or future interests, life
estates, and rights or powers
exercisable for the benefit of the
debtor other than those listed in
Schedule A - Real Property.

20. Contingent and noncontingent
interests in estate of a decedent,
death benefit plan, life insurance
policy, or trust.

21. Other contingent and unliquidated
claims of every nature, including
tax refunds, counterclaims of the
debtor, and rights to setoff claims.
Give estimated value of each.

Sheet _1 of _2 _ continuation sheets attached

to the Schedule of Personal Property

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< | mMZOZ

 

Sub-Total >
(Total of this page)

0.00

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Form B6B
(10/05)
In re Henry Tarrio Case No.
Debtor
SCHEDULE B. PERSONAL PROPERTY
(Continuation Sheet) ,
N Husband, Deb Current Value of
r FP. a: . ife, ebtor's Interest in Property,
ype of Property N Description and Location of Property Joint, or without Deducting any
E Community Secured Claim or Exemption
22. Patents, copyrights, and other xX
intellectual property. Give
particulars.
23. Licenses, franchises, and other X
general intangibles. Give
particulars.
24. Customer lists or other compilations x
containing personally identifiable
information (as defined in 11 U.S.C.
§ 101(41A)) provided to the debtor
by individuals in connection with
obtaining a product or service from
the debtor primarily for personal,
family, or household purposes.
25. Automobiles, trucks, trailers, and x
other vehicles and accessories.
26. Boats, motors, and accessories. xX
27. Aircraft and accessories. xX
28. Office equipment, furnishings, and xX
supplies.
29. Machinery, fixtures, equipment, and X
supplies used in business.
30. Inventory. xX
31. Animals. xX
32. Crops - growing or harvested. Give Xx
particulars.
33. Farming equipment and xX
implements.
34. Farm supplies, chemicals, and feed. X
35. Other personal property of any kind x

Sheet 2 of _2 _ continuation sheets attached

not already listed. Itemize.

to the Schedule of Personal Property

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Sub-Total > 0.00
(Total of this page)
Total > 772.00

(Report also on Summary of Schedules)

Best Case Bankruptcy
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Form B6C
(10/05)
In re Henry Tarrio Case No.
Debtor
SCHEDULE C. PROPERTY CLAIMED AS EXEMPT
Debtor elects the exemptions to which debtor is entitled under: OO Check if debtor claims a homestead exemption that exceeds
(Check one box) $125,000.

CJ 11 U.S.C. §522(b)(2)
B11 US.C. §522(06)(3)

 

 

 

: «a Value of Current Value of
a Specify Law Providing : .
Description of Property P : Claimed Property Without
Each Exemption Exemption Deducting Exemption
Cash on Hand
cash on hand Fla. Const. art. X, § 4(a)(2) 22.00 22.00
Household Goods and Furnishings
bedroom set, table, 4 chairs, couch, remaining Fla. Const. art. X, § 4(a)({2) 600.00 600.00
belongs to family member
Wearing Apparel
clothing Fla. Const. art. X, § 4(a)(2) 50.00 50.00
Furs and Jewelry
Jewelry: watch, ring Fla. Const. art. X, § 4(a)(2) 100.00 100.00
Total: 772.00 772.00

0 continuation sheets attached to Schedule of Property Claimed as Exempt
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Form B6D
(10/05)

In re Henry Tarrio Case No.

 

 

Debtor

SCHEDULE D. CREDITORS HOLDING SECURED CLAIMS

State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property
of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee
and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens,
garnishments, statutory liens, mortgages, deeds of trust, and other security interests.

List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, indicate that by stating "a minor child" and do not disclose
the child's name. See 1] U.S.C§112; Fed.R.Bankr.P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor", include the entity
on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the
marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community." If the
claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated”. If

the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on

the Summary of Schedules.

Os Check this box if debtor has no creditors holding secured claims to report on this Schedule D.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CREDITOR'S NAME 5 Husband, Wife, Joint, or Community c v D AMOUNT OF
AND MAILING ADDRESS D | x DATE CLAIM WAS INCURRED, N} LIS WITHOUT UNSECURED
INCLUDING ZIP CODE Bp |W NATURE OF LIEN, AND ilalu DEDUCTING PORTION. IF
AND ACCOUNT NUMBER TIJ DESCRIPTION AND VALUE NP ul T VALUE OF ANY”
: . O}c OF PROPERTY GIVE
(See instructions above.) R SUBJECT TO LIEN E D D COLLATERAL
Account No. First Mortgage "TE
1260 Kasim Street, Opa Locka FL D
Mortgage Electronic Registration PL NO 1 OPA LOCKA PB 25-44 E20 FT
clo Codilis & Strwarski LOT 11 & ALL LOT 12 BLK 18
4010 Boy Scout Boulevard LOT SIZE 66.410 X 129 OR 20835-4578
, - $1102 1
Sulte ae 33607 COC 22759-2826 10 2004 1
ampa,
Value $ 220,000.00 190,000.00 0.00
Account No.
Value $
Account No.
Value $
Account No.
Value $
Subtotal
0 continuation sheets attached (Total of this page) 190,000.00
Total 190,000.00
(Report on Summary of Schedules)

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Best Case Bankruptcy

 
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Form B6E
(10/05)

In re Henry Tarrio Case No.

 

 

Debtor

SCHEDULE E. CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
the debtor chooses to do so. If a minor child is a creditor, indicate that by stating "a minor child" and do not disclose the child’s name. See
11 U.S.C.§112; Fed.R.Bankr.P. 1007(m).

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor", include the
entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife, both of
them or the marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or
Community". If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column
labeled "Unliquidated". If the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one
of these three columns.)

Report the total of claims listed on each sheet in the box labeled "Subtotal" on each sheet. Report the total of all claims listed on this
Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotal" on each sheet. Report the total of all
amounts entitled to priority listed on this Schedule E in the box labeled "Total" on the last sheet of the completed schedule. If applicable, also
report this total on the Means Test form.

Mi Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

0 Domestic support obligations

Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).

O Extensions of credit in an involuntary case
Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier
of the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

(1 Wages, salaries, and commissions

Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $10,000* per person earned within 180 days immediately preceding the filing of the original petition, or
the cessation of business, which ever occurred first, to the extent provided in 11 U.S.C. § 507 (a)(4).

C1 Contributions to employee benefit plans

Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

OD Certain farmers and fishermen
Claims of certain farmers and fishermen, up to $4,925* per farmer or fisherman, against the debtor, as provided in 1! U.S.C. § 507(a)(6).

0 Deposits by individuals
Claims of individuals up to $2,225* for deposits for the purchase, lease, or rental of property or services for personal, family, or household
use, that were not delivered or provided. 11 U.S.C. § 507(a)(7).

0 Taxes and certain other debts owed to governmental units
Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C § 507(a)(8).

(1 Commitments to maintain the capital of an insured depository institution

Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507(a)(9).

0 Claims for death or personal injury while debtor was intoxicated

Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).

*Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or after the date of

adjustment. . ;
0 continuation sheets attached

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Case 06-15153-RAM Doci Filed 10/12/06 Page11o0f13

Form B6F
(10/05)

In re Henry Tarrio Case No.

 

 

Debtor

SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without
priority against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor
has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, indicate
that by stating "a minor child" and do not disclose the child's name. See 11 U.S.C.§112; Fed.R.Bankr.P, 1007(m). Do not include claims listed in
Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor", include the entity
on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or
the marital community maybe liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".

If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled
"Unliquidated". If the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three
columns.)

Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on
the Summary of Schedules.

Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CREDITOR'S NAME, 6 Husband, Wife, Joint, or Community 5 N p
NCL UDI cane s e {4 DATE CLAIM WAS INCURRED AND mire
AND ACCOUNT NUMBER By CONSIDERATION FOR CLAIM. IF CLAIM 1 }Qyu AMOUNT OF CLAIM
: ol: IS SUBJECT TO SETOFF, SO STATE. NIrle
(See instructions above.) RIC PIDs
NIA
Account No. Notice Only TIT
D
Echevarria & Associates
P.O. Box 25018 .
Tampa, FL 33622-5018
0.00
Account No.
Account No.
Account No.
. . Subtotal 0.00
Q __ continuation sheets attached (Total of this page) .
Total
(Report on Summary of Schedules) 0.00

 

 

 

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Form B6G
(10/05)

In re Henry Tarrio Case No.

 

 

Debtor

SCHEDULE G. EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
of debtor's interest in contract, i.e., "Purchaser", “Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
indicate that by stating "a minor child” and do not disclose the child's name. See 11 U.S.C. § 112; Fed.R. Bankr. P. 1007(m).

@ Check this box if debtor has no executory contracts or unexpired leases.

 

Description of Contract or Lease and Nature of Debtor's Interest.
tate whether lease is for nonresidential real property.
State contract number of any government contract.

Name and Mailing Address, Including Zip Code,
of Other Parties to Lease or Contract

 

0 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases

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Form B6H
(10/05)

In re Henry Tarrio Case No.

Debtor

 

 

SCHEDULE H. CODEBTORS

Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
indicate that by stating "a minor child" and do not disclose the child's name. See 11 U.S.C. § 112; Fed. Bankr. P. 1007(m).
W@ Check this box if debtor has no codebtors.

NAME AND ADDRESS OF CODEBTOR NAME AND ADDRESS OF CREDITOR

Q __ continuation sheets attached to Schedule of Codebtors

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